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                     United States District Court for the Northern District of Illinois


        Case Number: 1:16-cv-04182                     Assigned/Issued By: PJ

        Judge Name: Lefkow                             Designated Magistrate Judge: Finnegan


                                                FEE INFORMATION


    Amount Due:                 $400.00             $46.00              $5.00
                                                                             $50,000.00
                                 IFP                No Fee           ✔ Other
                                 $505.00

    Number of Service Copies                                 Date:

                                         (For Use by Fiscal Department Only)

    Amount Paid: $50,000.00                                  Receipt #: 4624223450

    Date Payment Rec’d: 05/10/2019                           Fiscal Clerk: PJ


                                                    ISSUANCES

                  Summons                                              Alias Summons

                  Third Party Summons                                  Lis Pendens

                  Non Wage Garnishment Summons                         Abstract of Judgment

                  Wage-Deduction Garnishment Summons

                  Citation to Discover Assets                              (Victim, Against and $ Amount)


                  Writ
                            (Type of Writ)


            Original and                copies on                      as to
                                                        (Date)
 Sanction per order of Judge Kendall 03/28/2019 as to Joel A. Brodsky



Rev. 08/19/2016
